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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA

                                  Alexandria Division


   ASSOCIATION OF AMERICAN
   RAILROADS,

               Plaintiff,

         v.                                     Civil Action No. 1:23-cv-815-DJN-WEF

   JEHMAL T. HUDSON, et al.,

               Defendants.




                     ASSOCIATION OF AMERICAN RAILROADS’
                       SUPPLEMENTAL BRIEF ON STANDING


                                              Gordon D. Todd, VA Bar No. 45934
                                              Raymond A. Atkins
                                              Tobias S. Loss-Eaton
                                              Chike B. Croslin
                                              Lucas W.E. Croslow
                                              Stephen S. Laudone
                                              Lakeisha F. Mays
                                              SIDLEY AUSTIN LLP
                                              1501 K Street, NW
                                              Washington, D.C. 20005
                                              (202) 736-8000
                                              (202) 736-8711 (facsimile)
                                              gtodd@sidley.com
                                              ratkins@sidley.com
                                              tlosseaton@sidley.com
                                              ccroslin@sidley.com
                                              lcroslow@sidley.com
                                              slaudone@sidley.com
                                              lakeisha.mays@sidley.com

                                              Counsel for Plaintiff Association
                                              of American Railroads
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 I.      A pre-enforcement challenge requires only plausible allegations of an “identifiable
         trifle” of harm that is ongoing or imminent.

         At the pleading stage, standing is not a high bar. A plaintiff need only offer “general factual

 allegations” that (1) it has suffered or will suffer an “injury in fact” that (2) is “fairly traceable to

 the challenged action of the defendant” and (3) “likely … will be redressed by a favorable deci-

 sion.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992) (cleaned up).

         An injury-in-fact is “an invasion of a legally protected interest” that is “concrete and par-

 ticularized” and “actual or imminent.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016). “[I]ntan-

 gible injuries” are sufficiently concrete if they closely resemble “a harm that has traditionally been

 regarded as providing a basis for a lawsuit.” Id. at 340–41. That includes hard-to-value violations

 of legal rights. At common law, “every violation of a right imports damage,” so a cognizable injury

 exists “even if [the plaintiff] cannot or chooses not to quantify that harm in economic terms.”

 Uzuegbunam v. Preczewski, 141 S. Ct. 792, 799, 802 (2021) (cleaned up). “Indeed, the claimed

 injury ‘need not be large[;] an identifiable trifle will suffice.’” Friends of the Earth, Inc. v. Gaston

 Copper Recycling Corp., 204 F.3d 149, 156 (4th Cir. 2000) (en banc).

         And “threatened rather than actual injury can satisfy Article III,” so “[o]ne does not have

 to await the consummation of threatened injury to obtain preventive relief. If the injury is certainly

 impending that is enough.” Id. at 160. The Supreme Court has thus “permitted pre-enforcement

 review under circumstances that render the threatened enforcement sufficiently imminent,” mean-

 ing there is “a credible threat of enforcement.” Susan B. Anthony List v. Driehaus, 573 U.S. 149,

 159 (2014). This does not require a literal “threat” against the plaintiff; plausible allegations of

 future enforcement suffice. E.g., Holder v. Human. Law Project, 561 U.S. 1, 15–16 (2010) (gov-

 ernment enforced the law against others and did not disclaim prosecuting plaintiffs). At bottom, a

 plaintiff need only “allege that he has been or will in fact be perceptibly harmed.” See United
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 States v. SCRAP, 412 U.S. 669, 688, 690 (1973). There is “ordinarily little question” that a party

 who is an “object of” challenged “government action” can do so. Lujan, 504 U.S. at 561–62.

        Standing is also independent of the merits, so “the court must … assume that on the merits

 the plaintiffs would be successful in their claims.” Cooksey v. Futrell, 721 F.3d 226, 239 (4th Cir.

 2013) (citation omitted). And because standing “focuses on the [plaintiff] and not on the issues he

 wishes to have adjudicated,” the reason a plaintiff will be injured can be different from the reason

 the challenged action is unlawful. See Valley Forge Coll. v. Am. United for Separation, 454 U.S.

 464, 484 (1982). That is, a plaintiff need not show any “conceptual nexus between [its merits]

 argument and [the] injury” that creates standing. Siemens USA Holdings Inc. v. Geisenberger, 17

 F.4th 393, 414–15 n.28 (3d Cir. 2021) (quoting 13B Wright & Miller, Fed. Prac. & Proc. Juris.

 § 3531.16 (3d ed. 2020)).

        Finally, if (as here) the defendants do not dispute the jurisdictional facts alleged, the Court

 “must accept as true all material allegations” and “construe the complaint in favor of the complain-

 ing party.” Warth v. Seldin, 422 U.S. 490, 501 (1975); Kenny v. Wilson, 885 F.3d 280, 287 (4th

 Cir. 2018). “Thus, when the jurisdictional facts and the facts central to a [plaintiff’s] claim are

 inextricably intertwined, the trial court should ordinarily assume jurisdiction and proceed to the

 intertwined merits issues.” Kerns v. United States, 585 F.3d 187, 193 (4th Cir. 2009).

 II.    AAR has plausibly alleged associational standing to bring Counts II and III.

        If an organization sues “on behalf of its members,” it must plausibly allege that (1) at least

 one member “would otherwise have standing”; (2) the interests “are germane to the group’s pur-

 pose”; and (3) neither the claim nor the relief requires “participation of individual members.” White

 Tail Park, Inc. v. Stroube, 413 F.3d 451, 458 (4th Cir. 2005). No one disputes these claims are

 germane to AAR’s purpose, Compl. ¶¶ 7–9, so we address the first and third elements.




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          A.       AAR’s members would have standing to sue in their own right.

          AAR plausibly alleges two types of injury to its member railroads, each creating standing:

 (1) the immediate and ongoing diminution of their property rights, stripping away their right to

 exclude and gutting their bargaining power, and (2) the imminent, permanent physical taking and

 occupation of their property. 1

                   1.       Section 56-16.3’s enactment and enforcement have already restricted
                            the railroads’ property rights, depriving them of their right to exclude.

          a.       Injury-in-fact. A pre- and post-enactment comparison shows how AAR’s members

 already suffer ongoing injury. Before § 56-16.3, the railroads had the full bundle of sticks that

 property ownership confers in Virginia, including “the right to control who enters [their] property.”

 E.g., Solem v. Commonwealth, No. 0884-22-2, 2023 WL 8192303, at *3 (Va. App. Nov. 28, 2023);

 Compl. ¶¶ 143, 178. If a broadband provider wanted to install a crossing on their property, they

 could say no for any reason—including concerns about safety, traffic volumes, operational inter-

 ference, or future expansion plans. See Compl. ¶¶ 22, 28–29. Thus, they could and did rely on their

 right to exclude to strike bargains with broadband providers that accommodated new crossings

 while addressing these concerns. Id. ¶¶ 22, 28. They also spent significant time and money devel-

 oping uniform engineering and safety policies and application procedures for crossings. Id. ¶ 21.

          But they no longer have this right to exclude. Now, when a provider demands a new cross-

 ing, a railroad can try to negotiate or require compliance with its established procedures, but it has

 no leverage. The provider can invoke the statute whenever it “deems it necessary,” Va. Code § 56-

 16.3(B)—and it knows that, even if it rejects all the railroad’s concerns, the railroad can no longer

 exclude it. See Hr’g Tr. 21–22 (the Court making this point).


 1
   AAR recognizes the Court intends to dismiss counts I and IV–VI. Because standing is independent of the merits,
 supra p. 2, this standing analysis applies to every claim in the complaint. So if the Court means to dismiss any claims
 for lack of standing, AAR submits that doing so would be erroneous for the reasons explained in this brief.


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        A timely example illustrates this change. Just after the March 21 motion hearing, AAR’s

 counsel learned that CSX had received a notice “[p]ursuant to … § 56-16.3” from Cox Communi-

 cations for a new crossing in Chesapeake, Virginia. See Saar Decl. Ex. 1 at 1 (filed with this brief).

 The notice declares Cox’s “intent” to enter and permanently occupy CSX’s property: “Our purpose

 in contacting you is to provide notice that Cox will be crossing the CSX corridor ….” Id. at 1

 (emphasis added); see id. at 2 (Cox “intends to cross your railway”). It also asserts that the instal-

 lation work may take up to three days and that Cox—not CSX—will “use flagmen or spotters as

 appropriate” while working in the active rail corridor. Id. at 2. And it asserts that “Cox is entitled

 to commence the installation” in mid-April, after the statutory 35-day period. Id. at 3.

        Before § 56-16.3, Cox could not simply declare its intent to enter and occupy CSX’s land,

 which CSX owns in fee simple. Saar Decl. ¶ 4. It would have had to follow CSX’s permitting

 process and negotiate appropriate terms, including to address any safety issues and avoid current

 or future operational interference. See Compl. ¶¶ 21–22, 24, 28–29. If Cox had rejected the per-

 mitting process or insisted on unreasonable terms, CSX could have fallen back on its right to ex-

 clude. But now, Cox can just announce it “will be crossing the CSX corridor,” and CSX’s only

 recourse is a petition addressed to the SCC’s discretion that can raise only a narrow set of issues.

        This is a concrete invasion of a legally protected interest. As the Court noted, “the right to

 exclude is a subset of the general property rights,” so “[i]f you have a basic property right, then

 you have a right to exclude.” Hr’g Tr. 12, 21. Indeed, “the right to exclude is universally held to

 be a fundamental element of the property right”—“one of the most essential sticks in the bundle.”

 Cedar Point Nursery v. Hassid, 594 U.S. 139, 150 (2021) (cleaned up). State action that strips

 away this power, in whole or in part, thus violates property rights. Virginia itself recognizes that

 “governmental action [that] adversely affects the landowner’s ability to exercise a right connected




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 to the property” is actionable. Kitchen v. City of Newport News, 657 S.E.2d 132, 136 (Va. 2008).

 And again, “every violation of a right imports damage,” whether or not the harm is quantifiable.

 Uzuegbunam, 141 S. Ct. at 802 (cleaned up); see Wintergreen Homestead, LLC v. Pennington, 108

 Va. Cir. 514 (2021) (“entering and seizing” another’s property gives rise “at a minimum” to nom-

 inal damages, even if the “invasion … produced no actual, present loss of any kind”), aff’d, 880

 S.E.2d 30 (Va. App. 2022). No more is required to support standing. The effect on the railroads’

 bargaining position simply confirms the real injury they are already suffering. See Doc. 58 at 20;

 Clinton v. City of New York, 524 U.S. 417, 432–33 & n.22 (1998) (loss of a “bargaining chip”

 altered “market conditions” and “inflicted a sufficient likelihood of economic injury to establish

 standing”). 2

          Defendants’ arguments confirm these injuries. In their telling, Virginia passed this law pre-

 cisely because, “prior to Va. Code § 56-16.3, railroads in Virginia used their ‘right to exclude’ as

 a ‘powerful bargaining chip’” in negotiations. Doc. 72 at 13. The statute thus “prevents railroads

 from exploiting” their “right to exclude” in bargaining with the broadband providers. Id. at 1, 7.

 Having declared that the statute serves to strip away the railroads’ right to exclude, which they

 previously relied on, Defendants cannot now claim it causes no injury by doing so.

          Defendants cannot avoid this problem by noting that “[p]rivate property is always subject

 to … eminent domain.” Doc. 72 at 7; Hr’g Tr. 22. This statute adopts a novel, streamlined takings

 regime that empowers private parties to permanently occupy railroad property whenever they

 deem it necessary. See Doc. 58 at 23–25. That Virginia could previously have exercised its general

 eminent domain power over railroad property—subject to all the attendant procedural protections

 and substantive restrictions—says nothing about how this statute has altered the status quo.


 2
  Defendants say “the Constitution doesn’t forbid the diminution of bargaining power,” Hr’g Tr. 22, but what the law
 allows or forbids is a merits question; standing requires only an identifiable trifle of harm. Friends, 204 F.3d at 156.


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         Defendants also cannot wave away the right to exclude by asserting that railroads often

  acquired property through eminent domain or hold less than a fee-simple interest, so “the right to

  exclude will not be uniform.” See Hr’g Tr. 15–17. Even if that were true, it would make no differ-

  ence: The statute is relevant only if a railroad could otherwise exclude a broadband provider from

  crossing. If a railroad lacks that right, its permission to cross is not required and the statute never

  comes into play. But wherever a railroad does have a right to exclude, the statute strips it away.

  For that matter, AAR need not allege that every application of the statute will cause an Article III

  injury. To satisfy the first prong of associational standing, it need only offer allegations plausibly

  showing that the statute’s enactment and enforcement will cause “at least one of its members an in-

  jury.” Am. Chem. Council v. DOT, 468 F.3d 810, 818 (D.C. Cir. 2006).

         Anyway, Defendants’ premise is wrong. The operative complaint alleges that, while

  “AAR’s members hold and use property” through “various property interests,” a railroad right-of-

  way has the “attributes of the fee[:] perpetuity and exclusive use and possession.” Compl. ¶ 37

  (quoting W. Union Tel. Co. v. Pa. R.R., 195 U.S. 540, 570 (1904)). Defendants’ motions do not

  contest this allegation. And even when railroads acquired property in Virginia through eminent

  domain, they generally received “absolute fee simple titles,” which of course includes the right to

  exclude. E.g., Matthews v. Codd, 142 S.E. 383, 384 (Va. 1928). Defendants’ contrary assertions

  skip over the pleadings in favor of books, treatises, and amici briefs. That is improper.

         Nor does it matter whether AAR’s members could potentially avoid or modify some cross-

  ings under the statute by seeking relief from the SCC. Again, before the statute’s enactment, rail-

  roads could exclude broadband providers for any or no reason. Now, they can exclude broadband

  providers only if they persuade the SCC, in its discretion, that a narrow statutory ground for relief




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  applies. Va. Code § 56-16.3(H). By itself, that shift in their property rights is at least “an identifi-

  able trifle.” Friends, 204 F.3d at 156. And again, broadband providers’ ability to invoke the statute

  has already dramatically shifted the parties’ bargaining positions, as the Cox application shows.

         b.      Causation. These injuries are also “fairly traceable.” Spokeo, 578 U.S. at 338. But

  for broadband providers’ ability to invoke § 56-16.3, the railroads would retain their preexisting

  right to exclude and their bargaining power. Indeed, Commissioner Hudson does not dispute that

  the statute has already caused these injuries—he argues merely that prospective relief cannot re-

  dress “wrongs [that] have already been suffered.” See Doc. 73 at 7–8. But that wrongly assumes a

  completed, past injury; this harm is ongoing as long as the statute is enforceable.

         c.      Redressability. These harms will be redressed by prospective relief barring the stat-

  ute’s enforcement. If the SCC will not enforce the statute, railroads need not accept forced occu-

  pations like Cox’s, and they will regain their right to exclude and their bargaining power. That is

  true even if the SCC is not necessarily involved in every invocation of the statute, or if Ex Parte

  Young applies to only some of the SCC’s actions under the statute. Under Uzuegbunam, “the ability

  ‘to effectuate a partial remedy’ satisfies the redressability requirement.” 141 S. Ct. at 801.

                 2.      Section 56-16.3’s enactment and enforcement will imminently cause ac-
                         tual, permanent physical takings of the railroads’ property.

         a.      Injury-in-fact. “[A]ppropriations of a right to invade are per se physical takings,”

  Cedar Point, 594 U.S. at 158, and there is no dispute that such an “actual taking” causes an Article

  III injury, see Doc. 72 at 7. Still, Defendants say AAR “does not allege an actual or imminent

  crossing under Va. Code § 56-16.3.” Doc. 48 at 15. But crossings will occur under the statute

  unless (i) broadband providers never invoke it or (ii) the railroads petition for relief from, and the

  SCC rejects, every single crossing. As to the first possibility, the Cox notice to CSX already dis-

  proves it—and the broadband industry’s amici briefs, together with the billions of dollars of federal



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  funding for broadband expansion, confirm that more crossings will soon follow. As Commissioner

  Hudson’s counsel said, “petitions … are going to be filed under this statute.” Hr’g Tr. 11. As for

  the second possibility, “[t]he State has not suggested that the newly enacted law will not be en-

  forced, and [there is] no reason to assume otherwise.” See Virginia v. Am. Booksellers Ass’n, 484

  U.S. 383, 393 (1988). Drawing reasonable inferences in AAR’s favor, it is simply not plausible

  that this statute will not imminently produce actual, physical occupations of railroad property. 3

           b.       Causation. This imminent injury is also fairly traceable to the statute’s enactment

  and enforcement. But for § 56-16.3, broadband providers could not occupy railroad property when-

  ever they deem it necessary (limited only by the SCC’s discretion on a narrow set of issues). Thus,

  physical invasions will imminently occur that would not occur if the statute is not enforced.

           c.       Redressability. For the same reasons, this injury is redressable by prospective relief

  against the statute’s enforcement. If the SCC does not enforce the statute, railroads can again en-

  force their right to exclude, and providers will not be able to permanently invade railroad property.

           B.       AAR’s claims do not require the participation of individual members.

           Count III claims broadband expansion is not a public purpose. Compl. ¶ 161. If that is

  true—and for standing purposes, the Court must assume so—§ 56-16.3 is never valid. Nothing

  about that claim turns on the specifics of any parcel or crossing. Indeed, Defendants’ individual-

  participation arguments conspicuously ignore Count III. See Doc. 72 at 7–8; Doc. 73 at 8.

           Count II alleges that § 56-16.3 does not allow for just compensation. Compl. ¶ 158. De-

  fendants say this claim is crossing-specific—and thus requires member participation—because the


  3
    Defendants say a crossing “might just be a wire … on existing wire infrastructure,” which “wouldn’t be a physical
  invasion.” Hr’g Tr. 23. The Supreme Court disagrees: “[P]ermanent occupations of land by such installations as tele-
  graph and telephone lines … or wires are takings even if they occupy only relatively insubstantial amounts of space
  and do not seriously interfere” with using the land. Loretto v. Tel. Manhattan CATV Corp., 458 U.S. 419, 430 (1982).
  Nor does standing require “specific factual allegations” about “particular problems … at actual railroad crossings.”
  Doc. 48 at 15. The imminent injury for standing is the occupations themselves, not any resulting safety or operational
  issues. And of course the Takings Clause applies whether or not a particular invasion causes practical “problems.”


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  crossings’ values will vary. Doc. 48 at 17; Doc. 72 at 7–8; Doc. 73 at 8. That is wrong.

         To start, the fee for crossings in public rights-of-way—likely the most common type—is

  zero dollars. Va. Code § 56-16.3(K). This is not just a default; “in no case” is a fee allowed for

  such a crossing, so the SCC can never provide compensation. See id. § 56-16.3(G), (H), (K). And

  again, the statute comes into play only when railroads otherwise have a right to exclude. So every

  public-right-of-way crossing under § 56-16.3 infringes on that right and occupies railroad prop-

  erty—with no compensation at all. Whatever those rights are worth in a specific case, they are

  never worth nothing. See Uzuegbunam, 141 S. Ct. at 799. At a minimum, then, no member partic-

  ipation is needed in relation to crossings in public rights-of-way.

         Nor is member participation needed for other crossings. Crossings of legally abandoned

  rail lines are capped at $1,000—which the SCC again cannot increase. But “abandonment” is a

  regulatory term of art for ending a railroad’s common-carrier obligation over a line, R.R. Ventures,

  Inc. v. STB, 299 F.3d 523, 531 (6th Cir. 2002); it does not extinguish the railroad’s ownership or

  prevent it from “convert[ing] the real estate to other uses,” Wisc. Cent. Ltd. v. STB, 112 F.3d 881,

  885 (7th Cir. 1997). So these crossings still infringe railroads’ property rights. And while the net

  present value of such a permanent crossing may vary, it is not less than $1,000. See Compl. ¶ 106.

         All other crossings are capped at $2,000, subject to the SCC’s discretion. But “[g]enerally

  speaking, neither the market value nor the highest and best use of any crossing easement of railroad

  property is valued at $2,000 or less.” Id. ¶ 105. This allegation is plausible, especially since these

  crossings are permanent—there is no way for railroads to remove or relocate them. Thus, the Court

  must assume that, in most or many cases, AAR’s members could secure just compensation only

  by petitioning the Commission. And there will be hundreds of crossings. See Doc. 58 at 37.




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           This case thus triggers the rule that if “effective legal relief can be secured only by a mul-

  tiplicity of actions”—e.g., if the “plaintiff would be required to pursue damages each time plaintiff

  was injured”—equitable relief is appropriate. PhRMA v. Williams, 64 F.4th 932, 943 (8th Cir.

  2023). Williams relied on a case holding that just “six actions constitute a ‘multiplicity.’” Equitable

  Life Assur. Soc. v. Wert, 102 F.2d 10, 15 (8th Cir. 1939). Dozens or hundreds of suits do too.

            Finally, Defendants point to the facial-challenge standard. Hr’g Tr. 16. But as they admit,

  “the facial challenge” question “is a 12(b)(6) issue”—a merits question. Id. at 19. And for standing,

  the Court must assume success on the merits. Beyond that, this argument depends on variation

  among crossings, see id., so it fails for the reasons above: The statute comes into play only if

  railroads could otherwise exclude, so the statute always infringes the right to exclude.

           In any event, “determinations that statutes are facially invalid properly occur only as logical

  outgrowths of rulings on whether statutes may be applied to particular litigants on particular facts,”

  PETA, Inc. v. N.C. Farm Bureau Fed’n, 60 F.4th 815, 835 (4th Cir. 2023) (cleaned up), so the

  facial/as-applied distinction “goes to the breadth of the remedy employed by the Court, not what

  must be pleaded in a complaint,” Citizens United v. FEC, 558 U.S. 310, 331 (2010). Thus, if AAR

  plausibly alleges Article III standing and a takings violation, the Court cannot dismiss the entire

  case just because the law might have some valid applications. Doc. 58 at 23; Bruni v. Pittsburgh,

  824 F.3d 353, 363 (3d Cir. 2016); Doe v. Albuquerque, 667 F.3d 1111, 1124 (10th Cir. 2012). 4

                                                   CONCLUSION

           For these reasons, the Court should hold that AAR has standing.




  4
    For all these reasons, the general principle that the “takings cases” should be decided in an “actual factual setting,”
  Doc. 72 at 8 (quoting Pennell v. San Jose, 485 U.S. 1, 10 (1988)), does not control here. The statute’s fatal across-
  the-board flaws—and the specific theories of Counts II and III—render any crossing-by-crossing variation immaterial.


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                                             /s/ Lucas W.E. Croslow
                                            Lucas W.E. Croslow, VA Bar No. 97517
                                            Gordon D. Todd
                                            Raymond A. Atkins
                                            Tobias S. Loss-Eaton
                                            Chike B. Croslin
                                            Stephen S. Laudone
                                            Lakeisha F. Mays
                                            SIDLEY AUSTIN LLP
                                            1501 K Street, NW
                                            Washington, D.C. 20005
                                            (202) 736-8000
                                            (202) 736-8711 (facsimile)
                                            gtodd@sidley.com
                                            ratkins@sidley.com
                                            tlosseaton@sidley.com
                                            ccroslin@sidley.com
                                            lcroslow@sidley.com
                                            slaudone@sidley.com

                                            Counsel for the Association
                                            of American Railroads




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